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IN THE UNITED STATES DISTRICT COURT FOR THE
CLERK'S OFFICE U'S. DIST. COURT
WESTERN DISTRICT OF VIRGINIA AT CHARLOTTESVILE, VA

Fl en
Loi

Charlottesville Division OCT 94 2021
Elizabeth Sines, et al

Plaintiffs

 

v Case No: 3:17-cv-072-NKM
Jason Kessler, et al

Defendants

MOTION IN LIMINE TO LIMIT THE TESTIMONY1OF- PLAINTIFFS'
EXPERTS PETER SIMI AND KATHLEEN BLEE AND TO BAR> ARGUMENT AND
TESTIMONY REGARDING DEFENDANTS’ ALLEGED ANIMUS TOWARDS “IMMI-
GRANTS, SOCIAL MINORITIES AND FEMINISM" AS IRRELEVANT AND
INTENDED TO CONFUSE AND MISLEAD THE JURY PURSUANT TO FED.R.' 3

EVID 401-403

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Comes now the Defendant, Christopher Cantwell, and, he Moves this Court
In Limine To Limit The Testimony Of Plaintiffs' Experts Peter Simi And
Kathleen Blee And To Bar Argument And Testimony Regarding Defendants’
Alleged Animus Towards “Immigrants, Social Minorities And Feminism"

As Irrelevant And Intended To Confuse And Mislead The Jury Pursuant

To Fed.R.Evid. 401-403. In support, he states as follows:

1) ‘Jn mid~September, 2021, Cantwell was able to begin reviewing the

report of Plaintiff's experts Simi and Blee,’

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| Cantwell has previously moved to bar
any testimony relating to an incitement or aiding and abetting
theory of liability, as opposed to a conspiracy theory, and, some
of Simi and Blee's proposed testimony seems to be directed towards

such a theory. . Further, this Court previously disposed of a motion

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2)

3)

to exclude aspects of Simi's and Blee's testimony other than those
contested here and invited further objection in said order. Sines

v Kessler 2021 US Dist LEXIS 72553 (WD Va 2021).

Simi and Blee are two Teft wing university professors who were each
paid $30,000 out of Plaintiff's #SueANazi funds to take woke pro-
gressive and neo-Marxist tropes and compile them into a "report"
giving the Plaintiff's political motives in bringing this case a
veneer of academic respectability. Simi and Blee's claim is that
they have previously studied some entity that they cal? the "white
supremacist movement" and that this study~hassgivenzthem:special
insight into secret Nazi codes that were used on the Discord serv-
ers used in the organization of the Unite the Right rallies of
August 11 and 12, 2017, much as if they were human Enigma machines.
This Court previousy ruled that Simi and/or Blee may testify to

the "coded" meanings of Defendants’ Discord posting but that "De-
fendants may later raise specific .objections when the experts

testify at trial." Sines (WD Va Apr 15, 2021).

A review of Simi and Blee's report, however, indicates that Simi

and Blee: intend to testify way outside that limited bounds in which
their testimony as to Nazi secret codes may be relevant.Aristotle,

in the fifth book of his Politics, states that a tyrant overturns

a republic by building a coalition of immigrants, women, and, slaves,
unites them with socially marginal elements, and, turns them against
the potis' proper citizens, and, it seems that Simi and Blee's
purpose in this litigation is:to bring all of Aristotle's coalition
of tyranny to bear against the Defendants by testifying about allteg-
ed animus the Defendants bear towards “immigrants, social minorities,

and feminism."
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4)

5)

6)

As: previously briefed, 42 USC §1985(3) and US Const Amend XIII pro-
scribe private conspiracies to bring the Negro back into slavery;
they do not extend to private conspiracies against "Jews", Antifa,
the woke progressive left, or, as here, "immigrants", "social min-
orities" (whatever those are, as the Defendants here, being white.
working people struggling to build a nation in which they and their
families may live at peace, are the most oppressed and marginalizéd
"social minority" in the United States), and, “feminism.” Griffin
v Breckenridge 403 US 88 (1971); United Brotherhood of Carpenters
and Joiners v Scott 463 US 825 (1983); Shaare Tefile Congregation
v Cobb 785 F 2d 523 (4th Cir 1986); Harrison v HVAT Food Manage-
ment 706 F 2d 155 (4th Cir 1985). To these cases, Cantwell also
adds Bray v Alexandria Clinic 506 US 263 (1993), where the Supreme
Court found that animus against feminists and the women they dupe
is not proscribed by 42 USC §1985(3) because-such animus is not
invidious, and, he reminds the Court of St Francis v al-Kharaj 481
US 604 (1987), which found that national origin is not protected

as a “race” under . 42 USC §1981, et seq.

Similarly, Va Ann Code §8.01-42.1 provides a civil cause of action

“for racially and religiously motivated assault, not assault moti-

vated by animus against immigrants, feminists, or, so-called "social

‘minorities."

For the same reason that evidence of animus against those who id-
entify as "Jews" should be barred, evidence of animus against in-
migrants, feminists and so-called "social minorities" should also
be barred. Here, the Plaintiffs are part of the socially dominant
majority culture of this country's liberal internationalist elite.

Part of this dominant culture is the tactic of “crying out in pain

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7)

as you slap-someone", the pretense that you, a member of this count-
ry's chosen, socially dominant elite, are, in fact, an "oppressed"
person, and, the people that you have actually enslaved and tyran-
nize over are somehow "oppressing” you by even speaking out against
the harm they are experiencing. Their sole purpose in bringing in
irrelevant testimony from Simi and Blee is to try to build a co-
alition within the jury based on identity that will enter a verdict
against the Defendants because they are white males, and, thus, not
part of Aristotle's tyrannical coalition of the "oppressed". This
#s not a proper purpose of testimony,;. and, this courtroom is not
hosting a Maoist struggte session. If the jury wants to be brain-
washed, they can attend a university or turn on CNN; they shouldn't

be subject to this pap here.

As to the supposed coded messages within the Discord testimony, which
is the only proper scope of Simi and Blee's testimony, it appears
that Simi and Blee want to talk about “the Defendants” without spec-
ifying which Defendant and what specific evidence they used to in-:
corporate that Defendant into their conspiracy theory. Cantwell
particularly objects to this because there is no foundation to find
that he was on the “Southern Front" Discord server, and, he had very
little interaction with the "Charlottesville 2.0" Discord server.

It is not expected that Simi or Blee are going to testify about cod-
ed messages Cantwell made on Discord or at the August 1,7:2017, meet-
ing where he allegediy joined the conspiracy (a transcript of which
has been tendered to the Court). Simi and Blee do appear to-have
reviewed some podcasts Cantwell was involved in, but, those podcasts

shoutd be excluded as evidence towards an aiding and abetting theory

as described in Cantwell's prior motion.
 

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8) Because there is essentially no Discord evidence against Cantwell,

Simi and Blee should not be permitted to generalize about him as if
he were similarly situated to the other "Defendants", or, as if there
was some generic "Defendants" on trial, and, specific persons who
have to be specifically linked to this conspiracy. To avoid spill-
over from this intentionally highly prejudicial, not very probative,
testimony, Cantwell asks that Simi and Blee be barred from testify-
ing generally about “the Defendants", and, that their testimony be
limited to Defendants who were on the Discord server whose communi-

cations on Discord are the subject of their scrutiny.

And, thus, Cantwell Moves this Court in Limine to enter an appropriate
Order Limiting the Testimony of Simi and Blee And Barring All Argument
Or Evidence About Alleged Animus Towards “Immigrants, Social Minorities,

And Feminism."

Respectfully Submitted,

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Christophet Cantwell |
USP-Marion

PO Box 1000

Marion, IL 62959

CERTIFICATE OF SERVICE

I hereby certify that this Motion in Limine was mailed to the Clerk of
the Court, lst Class Postage prepaid, for posting on the ECF, to which
all other parties are subscribed, and, handed to USP-Marion staff members
Nathan Simpkins and Kathy Hill for electronic transfer to the Court this

lst day of October, 2021.

 
  

 

Christopher Gh

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